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United States District Court

NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

RAFAEL CEDRA

v. CIVIL CASE NO. 3:20-CV-1973-S-BK

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THE STATE OF TEXAS, ET AL.
ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made Findings, Conclusions, and a Recommendation
in this case. No objections were filed. The Court reviewed the proposed findings, conclusions
and recommendation for plain error. Finding none, the Court ACCEPTS the Findings,
Conclusions, and Recommendation of the United States Magistrate Judge.

SO ORDERED.

SIGNED November 6, 2020.

 

UNITED STATES DISTRICT JUDGE

 

 
